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                              UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH CAROLINA

IN RE:                                     ) CASE NO.: 16-04078-jw
                                           )
Joyce Campbell White fka Joyce Campbell ) CHAPTER 13
Walker-White fka Joyce Campbell Walker )
fka Joyce Campbell fka Joyce C. Walker, )
                          Debtor(s)        )
                                           )
Address: 1463 Orangeburg Rd.               )
           Summerville, SC 29483           )
                                           )
Last four digits on Social-Security or     )
Individual Tax-Payer-Identification (ITIJ) )
No(s)., (if any): 4405                     )
                                           )

                      OBJECTION TO CREDITOR'S MOTION TO MODIFY STAY

      The debtor(s), hereby objects to the Motion filed on behalf of the creditor, Bayview Loan Servicing,
LLC (“Movant”) as below described:

          1. The said Creditor has filed a Motion to modify the automatic stay wherein it claims
             Debtor(s) have failed to maintain post-petition payments.

          2. The undersigned is informed and believes that if the Debtor(s) are determined to have failed to
             make such payments that the debtor(s) are willing and able to cure such default by monthly
             payments which would provide adequate protection for the creditor.

          3. Debtor’s attorney requests a twelve (12) month stipulation agreement.

          WHEREFORE, the Debtor(s) objects to the motion of the creditor and requests that said motion be
denied.



August 17, 2018                                         /s/ Lauren J. Schumann_________
                                                        Lauren J. Schumann
                                                        District Court ID #11350
                                                        Steadman Law Firm, P.A.
                                                        Post Office Box 60367
                                                        North Charleston, SC 29419
                                                        (843) 529-1100
                                                        LSchumann@steadmanlawfirm.com
                                                        Attorney for Debtor(s)
     Case 16-04078-jw          Doc 41       Filed 08/17/18 Entered 08/17/18 13:27:28                 Desc Main
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                                   UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF SOUTH CAROLINA
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Joyce Campbell White fka Joyce Campbell ) CHAPTER 13
Walker-White fka Joyce Campbell Walker )
fka Joyce Campbell fka Joyce C. Walker, )
                          Debtor(s)               )
                                                  )       CERTIFICATION OF FACTS
Address: 1463 Orangeburg Rd.                      )
          Summerville, SC 29483                   )
                                                  )
Last four digits on Social-Security or Individual )
Tax-Payer-Identification (ITIJ) No(s)., (if any): )
4405                                              )
                                                  )

         In the above-entitled proceeding, in which relief is sought from the automatic stay in accordance with 11 U.S.C.
§362, I do hereby certify to the best of my knowledge the following:

        1.             Nature of Movant’s Interest: Movant is the holder of the Note and has a perfected security
                       interest in the below-referenced property.

        2.             Brief Description of Security Interest, copy attached (if applicable):
                       Note and mortgage.

        3.             Description of Property Encumbered by Stay (Include serial number, lot and block number,
                       etc.): 1463 Orangeburg Road, Summerville, SC 29483

        4.             Basis for Relief (property not necessary for reorganization, debtor has no equity, property not
                       property of the estate, etc.; include applicable subsection of §362): 11 USC §362(d)(1) and/or
                       (d)(2)

        5.             Prior Adjudication by Other Courts, copy attached (Decree of foreclosure, Order for possession,
                       Levy of execution, etc, if applicable): N/A

        6.             Valuation of Property, copy of valuation attached (Appraisal, Blue book, etc.):
                       Fair Market Value                         $150,000.00      Per Debtor
                       Liens (Mortgages) (-)                     $114,201.45*     Per Movant
                       Net Equity                                $35,798.55

        7.             Amount of debtor’s estimated equity (using figures from paragraph 6, supra): $35,798.55

August 17, 2018                                         /s/ Lauren J. Schumann
                                                        Lauren J. Schumann
                                                        District Court ID #11350
                                                        Steadman Law Firm, P.A.
                                                        Post Office Box 60367
                                                        North Charleston, SC 29419
                                                        (843) 529-1100
                                                        lschumann@steadmanlawfirm.com
                                                        Attorney for Debtor(s)




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No(s)., (if any): 4405                     )
                                           )


                                   CERTIFICATE OF MAILING

                                               ******

        This is to certify that on this 17th day of August, 2018 I have caused to be served upon the persons named
below the Objection To Creditor's Motion To Modify Stay in the foregoing matter by placing copies of the same in the
United States Mail, postage prepaid, in envelopes addressed as follows:

NYMT Loan Trust-2014 RP1
c/o Elizabeth R. Polk
Stern & Eisenberg Southern, PC
1709 Devonshire Drive
Columbia, SC 29204

                                               /s/ Catherine Emory
                                               Catherine Emory, Legal Assistant to
                                               Richard A. Steadman, Jr.
                                               Steadman Law Firm, P.A.
                                               Post Office Box 60367
                                               North Charleston, SC 29419
                                               (843) 529-1100
                                               rsteadman@steadmanlawfirm.com
                                               District Court I.D. #4284
                                               ATTORNEY FOR THE DEBTOR(S)

JAMES M. WYMAN, CHAPTER 13 TRUSTEE                     (VIA ECF ONLY)

OFFICE OF THE U.S. TRUSTEE (VIA ECF ONLY)




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